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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )
                     Plaintiff,                  )           8:05CR259
                                                 )
       vs.                                       )             ORDER
                                                 )
CORY JAMES SHIFFLETT,                            )
                                                 )
                     Defendant.                  )


       This matter is before the court on the motion of Cory James Shifflett (Shifflett) to
amend the conditions of his pretrial release (Filing No. 47). Shifflett’s counsel represents
that counsel for the government and Shifflett’s Pretrial Services supervisor do not object
to the motion. The motion is granted, and Shifflett shall execute a Consent to Modify the
conditions of his release in accordance with this order.


       IT IS SO ORDERED.


       DATED this 4th day of October, 2005.
                                                 BY THE COURT:
                                                 s/ Thomas D. Thalken
                                                 United States Magistrate Judge
